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IN THE UNITED STATES DISTRICT COURT ;
FOR THE SOUTHERN DISTRICT OF OnI0 ZEFEBI8 PH 3:25
WESTERN DIVISION AT CINCINNATI

CHRISTOPHER WOODS, : Case No. 1:07-cv-O03767F5 F
Plaintiff, (Beckwith, J.; Hogan, M.J.)
Vv. .
EXCELL MARINE CORPORATION,
Defendant.
ORDER
This day came Plaintiff, Christopher Woods, in person and by his attorney, and came
Defendant, Excell Marine Corporation by and through its attorney, pursuant to the Joint Petition
for Leave to Compromise and settle the claim of Plaintiff herein. This Court, being fully advised
of the terms of the settlement and having heard from Plaintiff, approves the settlement finding it
fair in all respects and further finding Plaintiff to have entered into the Settlement Agreement
freely, without deception or coercion, and with an adequate understanding of his medical condition
and legal rights.
Therefore, it is hereby ORDERED, ADJUDGED AND DECREED that the compromise
and settlement of this action pursuant to the Petition of Plaintiff is approved and this case is hereby

dismissed, with prejudice to future action, each party to bear its own costs.

Ak
ENTERED this 1 day pw brary , 2009.

“Giet Judgé Sandra S$. Beckwith
SN

